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 9
                               IN THE UNITED STATES DISTRICT COURT
10
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                          SACRAMENTO DIVISION
12

13

14   RALPH COLEMAN, et al.,                                2:90-cv-00520 KJM-DB (PC)

15                                           Plaintiffs,   DEFENDANTS’ CENSUS, WAITLISTS,
                                                           AND TRANSFER TIMELINES
16                  v.                                     COMPLIANCE REPORTS FOR
                                                           INPATIENT MENTAL HEALTH CARE
17
     GAVIN NEWSOM, et al.,
18
                                           Defendants.
19

20         Defendants California Department of Corrections and Rehabilitation (CDCR) and

21   Department of State Hospitals (DSH) file the attached reports capturing data concerning patient

22   census, waitlists, and compliance with transfer timelines for inpatient mental health care in

23   compliance with the Court’s October 13, 2015 order. (ECF No. 5367.) Attached are letters from

24   CDCR and DSH enclosing the following census and inpatient reports, as modified by the Court’s

25   April 19, 2017 order (ECF No. 5610): (1) DSH CDCR Patient Census and Waitlist Report

26   (Exhibit A); (2) DSH Psychiatric Inpatient Timelines Compliance Report, Patients Admitted

27   September 1 Through September 27, 2021 Who Waited Beyond Program Guide Timelines

28   (Exhibit B); (3); CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and
                                                    1
                  Defs.’ Census, Waitlists, and Transfer Timelines Compliance Reports (2:90-cv-00520 KJM-DB (PC))
 Case 2:90-cv-00520-KJM-SCR              Document 7349          Filed 10/15/21        Page 2 of 29


 1   Waitlist Report as of September 27, 2021 (Exhibit C); (4) CDCR Mental Health Crisis Bed

 2   Coleman Patient Census and Waitlist Report as of September 27, 2021 (Exhibit D); (5)

 3   Psychiatric Inpatient Programs Census Report as of 9/27/21 (Exhibit E); and (6) CDCR Inpatient

 4   Program Referrals: Compliance with Program Guide Timeframes for Acute and Intermediate

 5   Referrals Admitted or Closed in September 2021 (Exhibit F).

 6         CDCR has identified an issue with the data reported in Exhibit C, CDCR Psychiatric

 7   Inpatient Programs (PIP) Coleman Patient Census and Waitlist Report as of September 30, 2021.

 8   Because of a modification in how referrals are processed under conditions caused by the

 9   COVID-19 pandemic, Exhibit C does not capture all of the patients waiting to be transferred to an

10   inpatient bed. The attached letter describes the discrepancy caused by the change in the referral

11   process under COVID-19 conditions. CDCR is reviewing past reports and is working to resolve

12   the issue with the report, and to verify and if necessary, correct previously reported data.

13         The current compliance report at Exhibit F shows that of the 179 patients admitted to

14   inpatient programs in September 2021, 107 transferred beyond Program Guide timelines as a

15   result of exceptions to the Program Guide, including delays related to COVID-19. As reflected in

16   the attached letter from CDCR, CDCR continues to monitor the inpatient transfer timelines and

17   exceptions, and will continue to review this information with the Special Master in Work Groups

18   and with other stakeholders in various settings.

19                                             CERTIFICATION
20         Defendants’ counsel certifies that she reviewed the following order relevant to this filing:

21   ECF No. 5367 and ECF No. 5610.

22    Dated: October 15, 2021                                  Respectfully submitted,
23                                                             ROB BONTA
                                                               Attorney General of California
24                                                             DAMON MCCLAIN
                                                               Supervising Deputy Attorney General
25
                                                               /s/ Namrata Kotwani______________
26
                                                               Namrata Kotwani
27                                                             Deputy Attorney General
                                                               Attorneys for Defendants
28
                                                         2
                  Defs.’ Census, Waitlists, and Transfer Timelines Compliance Reports (2:90-cv-00520 KJM-DB (PC))
           Case 2:90-cv-00520-KJM-SCR          Document 7349     Filed 10/15/21    Page 3 of 29
State of California – Department of State Hospitals                       Gavin Newsom, Governor
   Office of the Director
   1600 9th Street, Room 151
   Sacramento, California 95814
   www.dsh.ca.gov
                                                                                      nDS
                                                                                        '-l

     October 15, 2021

     Damon McClain, Esq.
     Namrata Kotwani, Esq.
     California Department of Justice
     455 Golden Gate Avenue, Suite 11000
     San Francisco, CA 94102-5500

     Re:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
              COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

     Dear Mr. McClain and Ms. Kotwani:

     The California Department of State Hospitals (DSH) submits its monthly information on
     patient census, referrals, waitlists, and transfer timeline compliance for inpatient mental
     health care.

     The DSH CDCR Patient Census and Waitlist Report as of September 27, 2021, attached
     as Exhibit A, and the DSH Psychiatric Inpatient Timelines Compliance Report, Patients
     Admitted September 1, 2021 through September 30, 2021 Who Waited Beyond Program
     Guide Timelines, attached as Exhibit B, are based on data from the DSH Bed Utilization
     Management Report.

     The report attached as Exhibit A reflects data collected at a single point in time and, as a
     result, should not be used for purposes outside of that report. The report attached as
     Exhibit B is the compliance report from DSH, which includes requested compliance data
     for all DSH level of care referrals admitted to inpatient care in September 2021, for any
     inmate-patient who waited beyond the timelines specified in the Mental Health Services
     Delivery System Program Guide (2009 Revision) at 12-1-16.
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Page Two

DSH records show that as of September 30, 2021, there were no patients waiting beyond
Program Guide transfer timelines. A supplemental report on DSH’s pending waitlist,
provided to the Special Master and Plaintiffs via e-mail, shows that one patient, who had a
COVID-19 hold lifted, was admitted to DSH in September 2021 beyond thirty days.

                                           Sincerely,

                                           /s/ Stephanie Clendenin
                                           STEPHANIE CLENDENIN
                                           Director
                                           Department of State Hospitals

                   “Caring Today for a Safe and Healthy Tomorrow”
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                    EXHIBIT A
State of California                                                                                                                                                                                                                                     GAVIN NEWSOM, Governor

DIVISION OF HOSPITAL STRATEGIC PLANNING AND
                                        CaseIMPLEMENTATION
                                               2:90-cv-00520-KJM-SCR                                                        Document 7349                       Filed 10/15/21                   Page 6 of 29
Patient Management Unit
1215 O Street
Sacramento, CA 95814
                                                                                                                                                                                                                                               nDSH
                                                                                                         DSH CDCR Patient Census and Waitlist Report
                                                                                                                          Data as of: 9/27/2021
                                                                                                                                                                                                                                                    ~
Acute Care Patients
                                                                                                              Beds          Medical Isolation
    DSH Facility - Acute - Female      Bed Capacity              Census              Beds on Hold
                                                                                                   1
                                                                                                                                                   Available Beds                                    Waitlist                                     Total Patients
                                                                                                            Redlined2          Rooms3
                                                                                                                                                                                                                                                Awaiting Admission
                                                                                                                                                                        Referrals Pending                Accepted Referrals
                      Patton6                -                      1                       0                   0                   0                     0
                                                                                                                                                                             Review               CDCR Prison4   I CDCR PIP5                               0
                       Total                 -                      1                       0                   0                   0                     0                      0                      0
                                                                                                                                                                                                                     I           0           (Includes 0 Waiting >10 Days)


Intermediate Care Low Custody - Unlocked Dorms
                                                                                                              Beds          Medical Isolation
    DSH Facility - Unlocked Dorms      Bed Capacity              Census              Beds on Hold
                                                                                                   1
                                                                                                                                                   Available Beds                                    Waitlist                                     Total Patients
                                                                                                            Redlined2          Rooms3
                                                                                                                                                                                                                                                Awaiting Admission
                  Atascadero                256                    147                      2                   0                   0                    107            Referrals Pending                   Accepted Referrals
                      Coalinga               50                     26                      0                   0                   0                     24                 Review               CDCR Prison
                                                                                                                                                                                                                4
                                                                                                                                                                                                                              CDCR PIP
                                                                                                                                                                                                                                         5
                                                                                                                                                                                                                                                          17

                       Total                306                    173                      2                   0                   0                    131                    10                      1                        6           (Includes 0 Waiting >30 Days)



Intermediate Care Low Custody - Unlocked Dorms - Female

 DSH Facility - Unlocked Dorms -                                                                              Beds          Medical Isolation
                                       Bed Capacity              Census              Beds on Hold
                                                                                                   1
                                                                                                                                                   Available Beds                                    Waitlist                                     Total Patients
             Female                                                                                         Redlined2          Rooms3
                                                                                                                                                                                                                                                Awaiting Admission
                                                                                                                                                                        Referrals Pending                Accepted Referrals
                      Patton6                30                     10                      0                   0                   0                     19
                                                                                                                                                                             Review               CDCR Prison4   I CDCR PIP5                               1
                       Total                 30                     10                      0                   0                   0                     19                     1                      0
                                                                                                                                                                                                                     I           0           (Includes 0 Waiting >30 Days)

1
  Beds on hold are assigned for internal patient movement and patients waiting to transfer to DSH. When allocated Coleman beds are at maximum capacity within the facility, beds with patients pending discharge may be placed on hold for accepted patients to
maximize bed utilization. This may result in negative totals for available beds, but does not necessarily imply exceeding capacity.
2
  Redlined beds are temporarily unavailable due to repairs.
3
  Medical isolation rooms are required for licensing and physically differ from the other housing in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
4
  Direct referrals from a CDCR prison for patients awaiting transfer to DSH for inpatient treatment.
5
  Referrals for patients currently receiving inpatient treatment within a CDCR PIP referred to DSH for stepdown of LRH or Level of Care change.
6
  Beds at DSH-P are for female patients only.




Source: BUMMs                                                                                                                      1 of 1
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                    EXHIBIT B
State of California                                                                                                                                                                                            GAVIN NEWSOM, Governor

DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION
                                  Case 2:90-cv-00520-KJM-SCR                                               Document 7349                  Filed 10/15/21               Page 8 of 29
Patient Management Unit
1215 O Street
Sacramento, CA 95814
                                                                                                                                                                                                         nDSH
                                                                                                                                                                                                             "'-.)
                                                                                 DSH Psychiatric Inpatient Timelines Compliance Report
                                                          Patients Admitted September 1 through September 30, 2021 Who Waited Beyond Program Guide Timelines


                                     Level of Care                                        Patients Waiting Outside Program Guide Timelines3                              Days Waited Outside Program Guide Timelines4

                             Intermediate Care Admissions                                                           1                                                                         11
                                        Subtotal                                                                    1                                                                         11
                                                                             1
     Exceptions to Program Guide Timelines - OTC, OTH, and Medical Holds                                            1                                                                         11
               Exceptions to Program Guide Timelines - Internal Referrals2                                          0                                                                         0
               Total Excluding Exceptions to Program Guide Timelines                                                0                                                                         0

1
 Includes exceptions to the Program Guide timelines for referrals on hold for patients with out-to-court status, out-to-hospital status, and medical holds.
2
 Includes exceptions to the Program Guide timelines for CDCR patients currently receiving inpatient treatment within a DSH program and have been referred for internal movement within DSH.
3
 Including patients admitted in September 2021 who waited greater than 30 days from the referral received date to DSH for a change in level of care.
4
 Includes the total number of days patients admitted in September 2021 waited beyond 30 days from the referral received date to DSH for a change in level of care.




Source: BUMMs                                                                                                    1 of 2
 Stale of cailomia                                                                                                                                                                      GAVIN NEWSOM, Go,e-nor

                                   CaseAND
                                         2:90-cv-00520-KJM-SCR                              Document 7349                 Filed 10/15/21            Page 9 of 29
                                                                                                                                                                                         nDSH
 DIVISION OF HOSPITAL STRATEGIC PLANNING    IMPLEMENTATION
 Patient Management Unit
 12150Street
 Saaamento, CA95814



                                                                                                                                                                                              ~
                                                                           DSH Psychiatric Inpatient Timelines Compliance Report
                                                    Patients Admitted September 1 through September 30, 2021 Who Waited Beyond Program Guide Timelines
 Patients Admitted to Intermediate Care
                                                                                       Number of Days
                                                                                                                                               Total Days Waited
                                                    CDCR Direct/       Total Days on       Waited
                     Name                 CDCR #                                                         Total Days on Hold   Exclusion Days       Excluding       Exception Reason(s}
                                                    DSH Internal          Waitlist     Beyond Program
                                                                                                                                                  Exceptions
                                                                                       Guide Timelines
                                                     CDCR Direct            41               11                 13                 11                 30           COVID Medical Hold
   Total Number of Patients Waiting                Total Number of
                                            1                               41               11                 13                 11                 30                    .
            Over 30 Days                           Days All Patients




Source: BUMMs                                                                                        2of 2
          Case 2:90-cv-00520-KJM-SCR                 Document 7349
STATE OF CALIFORNIA — DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                      Filed 10/15/21     Page 10 of 29
                                                                               EDMUND G. BROWN JR., GOVERNOR

DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM
P.O. Box 588500
Elk Grove, CA 95758




        October 14, 2021

        Damon McClain, Esq.
        Namrata Kotwani, Esq.
        California Department of Justice
        455 Golden Gate Avenue, Suite 11000
        San Francisco, CA 94102-5500

        RE:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
                 COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

        Dear Mr. McClain and Ms. Kotwani:
               The California Department of Corrections and Rehabilitation (CDCR) submits its monthly
        information on patient census, referrals, waitlists, and transfer timeline compliance for inpatient
        mental health care.

                The CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist
        Report as of September 27, 2021 (Exhibit C), the CDCR Mental Health Crisis Bed Coleman
        Patient Census and Waitlist Report as of September 27, 2021 (Exhibit D), the Psychiatric Inpatient
        Programs Census Report as of 9/27/2021 (Exhibit E), and the CDCR Inpatient Program Referrals:
        Compliance with Program Guide Timeframes for Acute and Intermediate Referrals Admitted or
        Closed in September 2021 (Exhibit F), are generated using data from CDCR’s tracking software,
        the Referrals to Inpatient Programs Application.

                The reports attached as Exhibits C and D reflect data collected at a single point in time
        and, as a result, should not be used for purposes outside of those reports. The reports attached as
        Exhibit F are compliance reports from CDCR, which include requested compliance data for all
        referrals admitted to inpatient care in September 2021, for any inmate-patient who waited
        beyond the timelines specified in the Mental Health Services Delivery System Program Guide
        (2009 Revision) at 12-1-16.

                CDCR has identified an issue with the data reported in Exhibit C, CDCR Psychiatric
        Inpatient Programs (PIP) Coleman Patient Census and Waitlist Report as of September 27, 2021.
        Because of a modification in how referrals are processed under conditions caused by the COVID
        pandemic, Exhibit C does not capture all of the acute and intermediate referrals waiting beyond
        their respective Program Guide timelines. Exhibit C reports that as of September 27, 2021, 18
        acute and 21 intermediate referrals were waiting beyond Program Guide timeframes. However,
        CDCR’s Inpatient Referral Unit reports 35 acute and 48 intermediate referrals beyond Program


                                                                                                    17787917.1
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Guide timeframes as of the same date. CDCR is reviewing past reports and is working to resolve
the issue with the report, and to verify and, if necessary, correct previously reported data.

        Although not reflected in CDCR’s census and waitlist report and PIP census report at
Exhibits C and E, the California Medical Facility’s PIP is operating with twenty-five beds offline
due to staffing shortages (psychiatry and nursing), and eight additional beds offline within dorm
housing in order to achieve physical distancing.

         CDCR continues to closely monitor the inpatient transfer timelines and exceptions
reported in Exhibit F, the Compliance with Program Guide Timeframes for Acute and
Intermediate Referrals Admitted or Closed in September 2021 report. The report continues to
list COVID-19 as the primary exception, reflecting the COVID-19 pandemic’s continuing impact
on CDCR’s ability to complete transfers within Program Guide timelines. CDCR continuously
evaluates the impact of different aspects of COVID-19. At the beginning of the pandemic,
CDCR stopped movement of patients, with limited exceptions, in order to mitigate the spread of
COVID amongst inmates and staff. In February 2021, as adequate testing and quarantine
protocols were in place and the vaccine because widely available, CDCR began movement of
PIP patients again. But by this time, CDCR’s PIP waitlist had swelled to over 300 patients due
to restricted movement caused by the pandemic. Although CDCR moved expeditiously to
reduce the COVID backlog, that COVID backlog put tremendous stress on PIPs as they were
forced to complete intakes at an increased rate while simultaneously continuing to mitigate
COVID risk. During this time, CDCR also focused almost exclusively on admissions, diverting
attention from utilization management and discharge. While PIPs normally intake and discharge
patients at a predictable rate, this frontloading of admissions has slowed the rate of discharges,
and thus inhibited CDCR’s ability to admit patients at the same rates seen pre-COVID.
Compounding this issue is the requirement to adhere to COVID social distancing requirements,
as recommended by the Centers for Disease Control and public health experts. Social distancing
reduces the number of patients who can be treated in group treatment spaces and has extended
the length of time patients remain in inpatient beds.

       While CDCR is working through the effects of COVID-19 described above, it will
continue to track all exceptions in detail and will review this information with the Special Master
in workgroups and with other stakeholders in various settings.

Sincerely,

/s/ Amar Mehta_______
AMAR MEHTA, M.D.
Deputy Director
Statewide Mental Health Program




                                                                                           17787917.1
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                     EXHIBIT C
                                                                                       CDCR Psychiatric Inpatient Programs (PIP)
                                                                                   Coleman Patient Census and Waitlist Report as of
                                                              Case 2:90-cv-00520-KJM-SCR September
                                                                                                 Document           7349 Filed 10/15/21
                                                                                                             27, 2021
                                                                                                                                                                                                      Page 13 of 29
                                                                                                                  Medical
                                                       Bed                           Beds             Beds                 Available
MALE ACUTE PIPs                                                      Census                                      Isolation
                                                     Capacity                     Reserved   1
                                                                                                 Redlined    2
                                                                                                                         3   Beds     Pending           Accepted                           Total Acute Referrals
                                                                                                                  Rooms                                                   Total Waitlist
                                                                                                                                     Referrals4         Referrals5                          Waiting > 10 Days
California Health Care Facility (CHCF)                  201           151              10               0            7        33
California Medical Facility (CMF)                       218           202               4               1            0        11
Total                                               I   419     I     353        I     14        I      1        I   7   I    44       I55         I         3          I       58                   13

                                                                                                                  Medical
                                                       Bed                           Beds              Beds                Available                                                                                  Total Intermediate
MALE INTERMEDIATE LOCKED DORM PIP                                    Census                                      Isolation             Pending          Accepted
                                                     Capacity                      Reserved          Redlined                Beds                                         Total Waitlist                               Referrals Waiting
                                                                                                                  Rooms                Referrals        Referrals
                                                                                                                                                                                                                          > 30 Days
CMF                                                      84            68              2                0            0        14
Total                                               I I  84            68        I     2         I      0        I   0   I    14       I    2      I         0          I       2                                               1

                                                                                                                  Medical
                                                       Bed                           Beds              Beds                Available
MALE INTERMEDIATE HIGH CUSTODY PIPs                                  Census                                      Isolation
                                                     Capacity                      Reserved          Redlined                Beds
                                                                                                                  Rooms
                                                                                                                                                                                                                      Total Intermediate
CHCF Single Cell                                        331           325               2               0           11        -7       Pending          Accepted
                                                                                                                                                                          Total Waitlist                               Referrals Waiting
CMF Multi Cell                                          68            47               12               0            0        9        Referrals        Referrals
                                                                                                                                                                                                                          > 30 Days
CMF Single Cell                                         94            60                1               0            0        33
SVSP Multi Cell                                         44            35                4               0            0        5
SVSP Single Cell                                        202           183              12               1            0        6
Total                                                   739           650              31               1           11        46           100               3                 103                                             20

                                                                                                                  Medical
                                                       Bed                           Beds              Beds                Available
MALE HIGH CUSTODY PIP                                                Census                                      Isolation
                                                     Capacity                      Reserved          Redlined                Beds                                                                                     Total Intermediate
                                                                                                                  Rooms                Pending          Accepted                           Total Acute Referrals
                                                                                                                                                                          Total Waitlist                               Referrals Waiting
CSP, San Quentin (Condemned)                            40             15              0                0            0         25      Referrals        Referrals                           Waiting > 10 Days
                                                                                                                                                                                                                          > 30 Days
CSP, San Quentin (Non-Condemned)                        N/A             8              5                0            0        -13
MH Flex Institutions(s)/Program(s)6                     12              9              0                0            0         3
Total                                                   52             32              5                0            0         15           5                0                  5                     5                         0

                                                                                                                  Medical
                                                       Bed                           Beds              Beds                Available                                                                                  Total Intermediate
FEMALE HIGH CUSTODY PIP                                              Census                                      Isolation             Pending          Accepted                           Total Acute Referrals
                                                     Capacity                      Reserved          Redlined                Beds                                         Total Waitlist                               Referrals Waiting
                                                                                                                  Rooms                Referrals        Referrals                           Waiting > 10 Days
                                                                                                                                                                                                                          > 30 Days
California Institution for Women                         45            21              0                0            0        24
Total                                               I I  45            21        I     0         I      0        I   0   I    24       I    0      I         0                  0                     0                         0

                                                                                                                  Medical                                                                                             Total Intermediate
                                                       Bed                           Beds              Beds                Available   Pending          Accepted                           Total Acute Referrals
                                                                     Census                                      Isolation                                                Total Waitlist                               Referrals Waiting
                                                     Capacity                      Reserved          Redlined                Beds      Referrals        Referrals                           Waiting > 10 Days
                                                                                                                  Rooms                                                                                                   > 30 Days

1
           GRAND TOTALS - ALL PIPs                  I I 1339          1124      I      52        I      2        I I I
                                                                                                                    18       143           162     I         6                 168                   18                        21

  Beds Reserved - Beds held or endorsed to by the Health Care Placement Oversight Program (HCPOP) for a specific patient. The referral is either pending clinical acceptance by the PIP or the patient is pending transfer to the
PIP.
2
  Beds Redlined - Beds are temporarily unavailable for patient placement due to repairs or single cell status (if a two-man cell).
3
  Medical Isolation Rooms - Rooms are required for licensing and physically differ from the other housing cells in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday
use.
4
  Pending Referrals - Includes all referrals received by the Mental Health Inpatient Referrals Unit (new inpatient referral, level of care transfers, least restrictive housing transfers) that are pending a clinical referral review, least
restrictive housing determination, HCPOP endorsement/bed vacancy, or inpatient program acceptance.
5
  Accepted Referrals - Includes all referrals that have been endorsed to a bed, have been accepted by the inpatient program, and are awaiting transfer.
6
  MH Beds flexed to Acute and/or ICF at insitutions that do not have a PIP program.

*There are 18 APP referrals, waiting greater than 10 days, that are pending an exception due to COVID-19.
**There are 21 ICF referrals, waiting greater than 30 days, that are pending an exception due to COVID-19.


Data Source: RIPA                                                                                                                                                                                                              CCHCS, Health Care Placement Oversight Program
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                     EXHIBIT D
                         Case 2:90-cv-00520-KJM-SCR   Document 7349      Filed 10/15/21       Page 15 of 29

                                             CDCR Mental Health Crisis Bed
                                     Coleman Patient Census and Waitlist Report as of
                                                  September 27, 2021


                                                                                                                     Total Pending
 CDCR MHCB                                              Beds     Available    Total Pending
                      Bed Capacity      Census                                                   Beds Assigned         Referrals
 Programs                                             Redlined     Beds         Referrals
                                                                                                                      > 24 hours
 Male Programs            397            256            12         129             9                  9                    1
 Female Programs          41              10             0         31              2                  2                    0
             Totals       438            266            12         160             11                 11                   1




Data Source: HEART                                                                        CCHCS, Health Care Placement Oversight Program
Case 2:90-cv-00520-KJM-SCR   Document 7349   Filed 10/15/21   Page 16 of 29




                     EXHIBIT E
           Case 2:90-cv-00520-KJM-SCR                              Document 7349                  Filed 10/15/21          Page 17 of 29Monday, 9/27/2021
                                                                                                                                                          Time: 04:31 PM

                                         PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF orJ/27/2021

                        Facility                               Bed capacity                                   Beds Occupied
                                                                   Male Acute care Programs
                                              PIP-Vacaville    I    218       JNo Score:                                                              1
                                                                              Level I:                                                                7
                                                                              Level II :                                                             42
                                                                              Level Il l:                                                            32
                                                                              Level IV:                                                             120
                                                                              Total Census:                                                         202
                                              PIP-St ockton         201       No Score:                                                               3
                                                                              Level I:                                                                4
                                                                              Level II :                                                             44
                                                                              Level Il l:                                                             7
                                                                              Level IV:                                                              93
                                                                              Total Census:                                                         151
                 Totals for Male Acute                              419                                                                             353
                                                Male Intermediate Care Facility (High custody) Programs
                                              PIP-St ockton         331       No Score:                                                               1
                                                                              Level I:                                                                4
                                                                              Level II :                                                             38
                                                                              Level Il l:                                                            26
                                                                              Level IV:                                                             256
                                                                              Total Census:                                                         325
                                                                              Total out of LRH:                                                     107
                                              PIP-Vacaville         94        No Score:                                                               0
                                                                              Level I:                                                                0
                                                                              Level II :                                                              9
                                                                              Level Il l:                                                            10
                                                                              Level IV:                                                              41
                                                                              Total Census:                                                          60
                                                                              Total out of LRH:                                                      15
                                              PIP-Vacaville         68        No Score:                                                               0
                                         M ulti-person Cells
                                                                              Level I:                                                                1
                                                                              Level II :                                                             13
                                                                              Level Il l:                                                             7
                                                                              Level IV:                                                              26
                                                                              Total Census:                                                          47
                                                                              Total out of LRH:                                                      29
                                         PIP-Salinas Valley         202       No Score:                                                               2
                                                                              Level I:                                                                6
                                                                              Level II :                                                             25
                                                                              Level Il l:                                                            19
                                                                              Level IV:                                                             131
                                                                              Total Census:                                                         183
                                                                              PC 1370:                                                                4
                                                                              WIC7301:                                                                4
                                                                              Total out of LRH:                                                      46
-




                                                                                                          CCHCS, Health care Placement Oversight Program
    Page 1 of3                                                                                            Ref errals to Inpatient Programs Applicat ion (RIPA)
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                                                    PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF orJ/27/2021

                           Facility                                          Bed capacity                                   Beds Occupied
                                                     PIP-Salinas Valley          44         No Score:                                                               0
                                                    Multi-person Cells
                                                                                            Level I:                                                                0
                                                                                            Level II :                                                              7
                                                                                            Level Il l:                                                             4
                                                                                            Level IV:                                                              24
                                                                                            Total Census:                                                          35
                                                                                            PC 1370:                                                                0
                                                                                            WIC7301:                                                                0
                                                                                            Total out of LRH:                                                      19
              Totals for Male ICF High Custody                                   739                                                                              650
                                                             Male Intermedi ate care Facility (Low Custody) Programs
                                                  PIP-Vacaville Dorms            84         No Score:                                                               0
                                                                                            Level I:                                                                1
                                                                                            Level II :                                                             30
                                                                                            Level Il l:                                                            12
                                                                                            Level IV:                                                              25
                                                                                            Total Census:                                                          68
                                                                                            Total out of LRH:                                                      44
                                                       DSH-At ascadero           256        No Score:                                                               0
                                                                                            Level I:                                                               13
                                                                                            Level II :                                                             90
                                                                                            Level Il l:                                                            18
                                                                                            Level IV:                                                              26
                                                                                            Total Census:                                                         147
                                                          DSH-Coalinga           50         No Score:                                                               0
                                                                                            Level I:                                                                3
                                                                                            Level II :                                                             10
                                                                                            Level Il l:                                                             3
                                                                                            Level IV:                                                              10
                                                                                            Total Census:                                                          26
              Total s for Male ICF Low custody                                   390                                                                              241
                                                                                       Male Programs
                                                       PIP-San Quentin           40         Total Census:                                                          15



                                                       PIP-San Quentin           N/A        No Score:                                                               1
                                                     Non-Condemned
                                                                                            Level I:                                                                1
                                                                                            Level II :                                                              1
                                                                                            Level Il l:                                                             0
                                                                                            Level IV:                                                               5
                                                                                            Total Census:                                                           8
                                                 M H Flex lnstittJtion(s)/       12         No Score:                                                               0
                                                             Program(s)
                                                                                            Level I:                                                                1
                                                                                            Level II :                                                              5
                                                                                            Level Il l:                                                             1
                                                                                            Level IV:                                                               2
                                                                                            Total Census:                                                           9
                  Totals for Male ICF/Acute                                      52                                                                                32
~




                                                                                                                        CCHCS, Health care Placement Oversight Program
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                Case 2:90-cv-00520-KJM-SCR                                       Document 7349                    Filed 10/15/21             Page 19 of 29Monday, 9/ 27/2021
                                                                                                                                                                              Time: 04:31 PM

                                                        PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF orJ/27/2021

                                Facility                                       Bed capacity                                      Beds Occupied
                                                                                        Femal e Programs
                                                               DSH-Patton          30         No Score:                                                                   0
                                                                                              Level I:                                                                    1
                                                                                              Level II :                                                                  7
                                                                                              Level Il l:                                                                 1
                                                                                              Level IV:                                                                   2
                                                                                              Total Census:                                                              11
                                      PIP-California Instit ut ion for Women       45         No Score:                                                                   2
                                                                                              Level I:                                                                    2
                                                                                              Level II :                                                                  5
                                                                                              Level Il l:                                                                 0
                                                                                              Level IV:                                                                  12
                                                                                              Total Census:                                                              21
                                                                                              Total out of LRH:                                                          0
                      Totals for Female ICF/Acute                                  75                                                                                    32
                                                             Total Inpatient Program capacity and Census - Male and Female

                            GRAND TOTALS                                          1675                                                                                  1308

•!•   Bed Occupied: Fo r each progra m , ide n tif y th e tota l numb e r o f p a tie nts i n th e progr a m a nd
      th e total at each custody leve l, i.e _, Level I- IV _ Leve l I h as p lace m e nt score of 0 thro u g h 1 8;
      Leve l II 19 t hro u gh 35; Level Ill 36 t hro u g h 59; a nd Level IV 60 a n d a b ove_ Pa ti e n ts with " n o
      scor e" have not com pleted Recepti on Cent er processing_ PC 1 3 7 0 inm ates a r e consi de r ed
      in co mpetent to st a nd t ria l a nd do n o t have a concurre nt IC F ref e rra L WIC 7301 a lso d o n ot
      have a co n c urre nt ICF r efer ral a nd a r e too dangero us f or a St a t e H ospital f aci li ty -- e nh a n ced
      c u stody/secu r ity n eed s o f a p a t ient c an b est be m e t in a C D C R Instituti o n _
❖     Male Acute Care Program : A c ute b e d s a t PIP-V acavi lle a nd P IP-Stockto n are s ingle cel L T h u s,
      custody level and least restrictive h ousi n g catego r ies d o n o t a pply_
❖     MH Flex lnsti tution(s)/Program(s ) : MH beds fl exed to Acute a nd/o r IC F a t i nsti t u t i o n s th at
      do n o t h ave a Pl P prog r a m_
❖     Total Out of LRH (Least Res trictive Housing): Least Restric tive H o u s ing ( LRH ) i s det ermin e d




                                                                                                                             CCHCS, Health care Placement Oversight Program
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                     EXHIBIT F
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                                                 CDCR INPATIENT PROGRAM REFERRALS:
                            COMPLIANCE WITH PROGRAM GUIDE TIMEFRAMES FOR ACUTE AND INTERMEDIATE REFERRALS
                                                ADMITTED OR CLOSED IN SEPTEMBER 2021

                                                        Patients        Patients     Referrals Resulting
                                                                                                          Exceptions t o
      CDCRIDTT                    Total             Admitted Within Admitted Outside     in Rescind,
                                                                                                         Program Guide
     Referral Type               Referrals           Program Guide   Program Guide      Rejection, or                  121
                                                                                                         Timeframes
                                                     Timeframes ri J  Timeframes      Parole/Discharge

   Intermediate (ICF)               131                      60                   50                    21                   50
                                     90                      12                   57                    21                   57
                                    221                      72                  107                    42                   107



[1] Program Guide t imeframes: Transfer wit hin 30 days of referral for ICF, or within 10 days of referral for APP. Timeline begins when t he com plet ed referral is
received by t he Ment al Health Inpatient Referrals Unit (M H IRU).
[2] Exceptions t o the Program Guide t imef rames include: medical concerns and those referred t hat are on out-t o-court st at us, out -to-hospital st atus, patients on
medical or Vit ek holds and/or other approved operat ional circumstances.




Data Source: Referrals to Inpatient Programs Applicat ion (RIPA)                                                       CCHCS, Health Care Placement Oversight Program
                                                     DETAIL OF A PP OUT OF CO MPLIANCE
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APP    SAC                 MHCB     9/ 13/2021    9/ 14/2021    9/27/2021 Acute/ preli mi nary Unlocked Dorm s      09/ 27/2021    APP: VPP    09/27/2021 12:59:00
APP    CM F                M HCB     9/ 9/ 2021   9/14/2021     9/28/2021 Acute/ prelimi nary Unlocked Dorms        09/28/2021     APP: VPP    09/28/2021 11:17:00
APP    WSP                 MHCB     9/ 13/2021    9/ 13/ 2021   9/ 24/2021 Acute/ preli mi nary Unlocked Dorm s     09/ 24/2021    APP: VPP    09/24/2021 11:52:00
APP    SAC                 M HCB    9/10/2021     9/13/ 2021    9/27/2021 Acut e/ prelimi nary Unlocked Dorms       09/27/2021     APP: VPP    09/27/2021 12:11:00
APP    SAC                 MHCB      9/ 8/ 2021   9/ 11/2021    9/ 21/2021 Acut e/ preli mi nary Single Cell        09/ 21/2021    APP: VPP    09/21/2021 11:28:00
APP    SAC                 M HCB     9/ 9/ 2021   9/10/ 2021    9/22/2021 Acut e/ prelimi nary Single Cell          09/22/2021     APP: VPP    09/22/2021 12:08:00
A PP   CHCF                MHCB      9/7/2021      9/9/ 2021    9/20/ 2021 Acut e/ preli mi nary Unlocked Dorms     09/20/ 2021    APP: CHCF   09/20/2021 13:33:00
A PP   SAC                 MHCB      9/ 8/2021     9/9/ 2021    9/21/2021 Acut e/ prelimi nary Multi Person Cell    09/21/2021     APP: VPP    09/21/2021 11:47:00
A PP   NKSP                MHCB      9/1/2021      9/8/ 2021    9/15/2021 Acut e/ preli mi nary Locked Dorms        09/15/ 2021    APP: CHCF   09/15/2021 15:10:00
A PP   SAC                 MHCB      9/3/2021      9/7/2021     9/15/2021 Acute/ prelimi nary Single Cell           09/15/2021     APP: VPP    09/15/2021 14:18:00
APP    MCSP                MHCB      9/ 3/2021     9/3/ 2021    9/14/2021 Acute/ preli mi nary Locked Dorms         09/ 15/ 2021   APP: CHCF   09/15/2021 09:33:00
APP    CIM                 M HCB     9/ 2/2021     9/3/ 2021    9/14/2021 Acut e/ prelimi nary Locked Dorms         09/14/2021     APP: CHCF   09/14/2021 14:25:00
APP    SAC                 MHCB      9/ 2/2021     9/3/ 2021    9/14/2021 Acut e/ preli mi nary Single Cell         09/ 15/ 2021   APP: VPP    09/15/2021 11:04:00
APP    CM F                M HCB    8/20/ 2021     9/2/2021     9/14/2021 Acut e/ prelimi nary Locked Dorms         09/15/2021     APP: VPP    09/15/2021 09:09:00
A PP   CMF                 MHCB     8/23/2021      9/1/2021     9/14/2021 Acut e/ preli mi nary Unlocked Dorms      09/14/2021     APP: VPP    09/14/2021 13:35:00
A PP   CMC                 MHCB     8/31/2021      9/1/2021     9/14/2021 Acut e/ prelimi nary Single Cell          09/14/2021     APP: CHCF   09/14/2021 15:24:00
A PP   SAC                 MHCB     8/31/2021      9/1/2021     9/10/ 2021 Acut e/ preli mi nary Locked Dorms       09/10/ 2021    APP: CHCF   09/10/2021 14:50:00
A PP   COR                 MHCB     8/31/2021      9/1/2021     9/10/2021 Acut e/ prelimi nary Unlocked Dorms       09/10/2021     APP: CHCF   09/10/202115:16:00
A PP   RJD                 MHCB     8/30/ 2021    8/31/2021     9/ 10/ 2021 Acut e/ preli mi nary Unlocked Dorms    09/10/ 2021    APP: CHCF   09/10/202116:17:00
APP    RJD                 MHCB     8/23/2021     8/27/2021     9/10/2021 Acut e/ prelimi nary Single Cell          09/10/2021     APP:VPP     09/10/202112:22:00
APP    LAC                 MHCB     8/27/2021     8/27/2021     9/ 10/ 2021 Acut e/ preliminary Locked Dorms        09/10/2021     APP: CHCF   09/10/2021 15:27:00
APP    SAC                 M HCB    8/26/ 2021    8/27/2021     9/10/2021 Acute/ prelimi nary Unlocked Dorms        09/10/2021     APP: CHCF   09/10/2021 14:30:00
APP    SAC                 MHCB     8/19/2021     8/ 26/ 2021   9/10/2021 Mult i Person Cell                        09/ 10/ 2021   APP: VPP    09/10/2021 11:26:00
APP    PBSP                M HCB    8/25/2021     8/ 26/2021     9/9/2021 Acut e/ prelimi nary Unlocked Dorms       09/09/2021     APP: VPP    09/09/2021 15:14:00
APP    CIM                 MHCB     8/23/2021     8/ 25/ 2021    9/ 9/2021 Acut e/ preli mi nary Single Cell        09/ 09/ 2021   APP: CHCF   09/09/2021 14:26:00
A PP   NKSP                M HCB    8/18/2021     8/25/ 2021     9/9/2021 Locked Dorms                              09/09/2021     APP: VPP    09/09/2021 13:33:00
A PP   SAC                 MHCB     8/23/2021     8/24/2021      9/ 9/2021 Acut e/ preli mi nary Unlocked Dorms     09/09/ 2021    APP: CHCF   09/09/2021 13:58:00
A PP   MCSP                MHCB     8/23/2021     8/24/2021      9/9/2021 Unlocked Dorms                            09/09/2021     APP: CHCF   09/09/2021 13:36:00
A PP   PBSP                MHCB     8/20/ 2021    8/24/2021      9/ 9/2021 Acut e/ preli mi nary Unlocked Dorms     09/09/ 2021    APP: VPP    09/09/202112:47:00
A PP   MCSP                MHCB     8/23/2021     8/24/2021      9/9/2021 Acut e/ prelimi nary Single Cell          09/10/2021     APP: CHCF   09/10/2021 09:15:00
APP    CIM                 MHCB     8/16/ 2021    8/24/2021      9/ 9/2021 Acut e/ preli mi nary Unlocked Dorms     09/09/ 2021    APP: CHCF   09/09/202113:13:00
APP    CIM                 MHCB     8/20/ 2021    8/23/2021      9/ 9/2021 Acut e/ preliminary Unlocked Dorms       09/09/2021     APP: CHCF   09/09/202115:06:00
APP    SAC                 MHCB     8/13/2021     8/ 20/ 2021    9/ 9/2021 Acute/ preli mi nary Unlocked Dorm s     09/ 09/ 2021   APP: CHCF   09/09/2021 12:00:00
APP    SATF                M HCB    8/16/ 2021    8/ 20/ 2021    9/9/2021 Acute/ prelimi nary Single Cell           09/09/2021     APP: CHCF   09/09/2021 12:18:00
APP    CM F                MHCB     8/18/2021     8/ 19/ 2021    9/7/2021 Acut e/ preli mi nary Multi Person Cell   09/ 07/2021    APP: VPP    09/07/2021 20:05:00
APP    CIM                 M HCB    8/12/2021     8/ 18/ 2021    9/7/2021 Acut e/ prelimi nary Unlocked Dorms       09/07/2021     APP: VPP    09/07/2021 14:25:00
APP    RJ D                MHCB     8/13/2021     8/18/ 2021     9/7/2021 Acut e/ preli mi nary Unlocked Dorms      09/07/2021     APP: VPP    09/07/2021 15:31:00
A PP   SAC                 M HCB    8/17/2021     8/18/ 2021     9/7/2021 Acut e/ prelimi nary Unlocked Dorms       09/07/2021     APP: CHCF   09/07/2021 17:13:00
A PP   RJD                 MHCB     8/13/2021     8/18/ 2021     9/7/2021 Acut e/ preli mi nary Locked Dorms        09/07/2021     APP: VPP    09/07/2021 16:19:00
A PP   CHCF                MHCB     8/13/2021     8/17/2021      9/7/2021 Acut e/ prelimi nary Locked Dorms         09/07/2021     APP: CHCF   09/07/202115:43:00
A PP   CIM                 MHCB     8/11/2021     8/13/ 2021     9/ 3/2021 Acut e/ preli mi nary Unlocked Dorms     09/03/ 2021    APP: CMC    09/03/202114:25:00
APP    CIM                 MHCB     8/10/ 2021    8/12/2021     8/30/ 2021 Acut e/ prelimi nary Unlocked Dorms      08/30/ 2021    APP: VPP    08/30/202111:35:00
APP    CMF                 MHCB      8/8/2021     8/12/2021      9/ 2/2021 Acut e/ preliminary Unlocked Dorms       09/02/2021     APP:SQ      09/02/202115:17:00
APP    CHCF                M HCB     8/ 6/ 2021   8/ 10/ 2021    9/1/2021 Acute/ prelimi nary Unlocked Dorms        09/01/2021     APP: SQ     09/01/2021 10:58:00
APP    KVSP                MHCB     7/30/ 2021    8/ 10/ 2021    9/ 1/2021 Acute/ preli mi nary Multi Person Cell   09/ 01/2021    APP: SQ     09/01/2021 13:34:00
APP    RJ D                M HCB     8/ 6/ 2021    8/9/ 2021     9/1/2021 Acut e/ prelimi nary Unlocked Dorms       09/01/2021     APP: SQ     09/01/2021 12:44:00
APP    SATF                MHCB      8/ 5/2021     8/9/ 2021     9/ 1/2021 Acute/ preli mi nary Unlocked Dorm s     09/ 01/2021    APP: SQ     09/01/2021 14:25:00
                                             DETAILOF APP OUT OF CO M PLIANCE
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APP    SOL         M HCB       8/4/2021    8/5/2021     9/1/2021 Acute/ prelimi nary Single Cell          09/01/2021   APP: SQ     09/01/2021 15:0l :OO
APP    CHCF        MHCB       7/30/2021    8/3/2021     9/1/2021 Acute/ preli mi nary Unlocked Dorm s     09/01/2021   APP: SQ     09/01/2021 13:41:00
APP    RJD         M HCB       8/2/2021    8/3/2021    8/30/2021 Acute/ prelimi nary Single Cell          08/30/2021   APP: SQ     08/30/2021 10:58:00
APP    KVSP        MHCB       7/30/2021    8/3/2021     9/1/2021 Acut e/ preli mi nary Locked Dorms       09/01/2021   APP: SQ     09/01/2021 12:17:00
APP    SAC         M HCB      7/29/2021   7/30/2021    8/26/2021 Acut e/ prelimi nary Unlocked Dorms      08/26/2021   APP: VPP    08/26/2021 12:46:00
APP    LAC         M HCB      7/29/2021   7/29/2021    8/26/2021 Acut e/ preli mi nary Locked Dorms       08/26/2021   APP: CHCF   08/26/2021 16:42:00
A PP   SATF        M HCB      7/27/2021   7/29/2021    8/24/2021 Acut e/ prelimi nary Multi Person Cell   08/24/2021   APP: CHCF   08/24/2021 12:51:00
A PP   PBSP        MHCB       7/28/2021   7/29/2021    8/25/2021 Acut e/ preli mi nary Unlocked Dorms     08/25/2021   APP: VPP    08/25/2021 14:54:00
A PP   CMF         MHCB       7/25/2021   7/27/2021    8/23/2021 Acut e/ prelimi nary Unlocked Dorms      08/23/2021   APP: CHCF   08/23/2021 14:44:00
A PP   CMF         ICF-HIGH    9/7/2021   9/10/2021    9/22/2021 Acut e/ preli mi nary Single Cell        09/22/2021   APP: VPP    09/22/202111:33:00
                                                                                        DETAIL OF APP OUT OF COMPLIANCE
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                                                                                                                                                                            Day from        Within     Days over
       HCPPOP            HCPOP                 Accepting   Date Placed
                                                                                                            Inpatient Program               Comments for        Referral   Referral to     Program      Program
     Endorsement      Endorsement              Inpatient   on Accepted        Inpatient Program Admitted
                                                                                                             Admit Date/Time              DELAY/EXCEPTION        Status    MH IRU and       Guide        Guide
       Location        Date/Time               Program     Referrals List
                                                                                                                                                                           Admission     Timeframes   Timeframes
APP: VPP           09/27/2021 12:59:00   APP: VPP          09/29/2021       APP: VPP                       09/30/2021 15:17:00   EXCEPTION: COVID-19           Admitted             16 N              6
APP: VPP           09/28/2021 11:17:00   APP: VPP          09/28/2021       APP: VPP                       09/29/2021 11:43:00   EXCEPTION: COVID-19           Admitted             15 N              5
APP: VPP           09/24/2021 11:52:00   APP: VPP          09/28/2021       APP: VPP                       09/29/2021 15:36:00   EXCEPTION: COVID-19           Admitted             16 N              6
APP: VPP           09/27/2021 12:11:00   APP: VPP          09/29/2021       APP: VPP                       09/30/2021 15:44:00   EXCEPTION: COVID-19           Admitted             17 N              7
APP: VPP           09/21/2021 11:28:00   APP: VPP          09/22/2021       APP: VPP                       09/23/2021 12:12:00   EXCEPTION: COVID-19           Admitted             12 N              2
APP: VPP           09/22/2021 12:08:00   APP: VPP          09/24/2021       APP: VPP                       09/27/2021 09:38:00   EXCEPTION: COVID-19           Admitted             17 N              7
APP: CHCF          09/20/2021 13:33:00   APP: CHCF         09/27/2021       APP: CHCF                      09/27/2021 13:08:00   EXCEPTION: COVID-19           Admitted             18 N              8
APP: VPP           09/21/2021 11:47:00   APP: VPP          09/22/2021       APP: VPP                       09/23/2021 11:21:00   EXCEPTION: COVID-19           Admitted             14 N              4
APP: CHCF          09/15/2021 15:10:00   APP: CHCF         09/17/2021       APP: CHCF                      09/20/2021 11:57:00   EXCEPTION: COVID-19           Admitted             12 N              2
APP: VPP           09/15/2021 14:18:00   APP: VPP          09/20/2021       APP: VPP                       09/21/2021 14:05:00   EXCEPTION: COVID-19           Admitted             14 N              4
APP: CHCF          09/15/2021 09:33:00   APP: CHCF         09/17/2021       APP: CHCF                      09/20/2021 09:36:00   EXCEPTION: COVID-19           Admitted             17 N              7
APP: CHCF          09/14/2021 14:25:00   APP: CHCF         09/16/2021       APP: CHCF                      09/17/2021 14:50:00   EXCEPTION: COVID-19           Admitted             14 N              4
APP: VPP           09/15/2021 11:04:00   APP: VPP          09/16/2021       APP: VPP                       09/17/2021 16:09:00   EXCEPTION: COVID-19           Admitted             14 N              4
APP: VPP           09/15/2021 09:09:00   APP: VPP          09/23/2021       APP: VPP                       09/24/2021 12:15:00   EXCEPTION: COVID-19           Admitted             22 N              12
APP: VPP           09/14/2021 13:35:00   APP: VPP          09/20/2021       APP: VPP                       09/21/2021 10:40:00   EXCEPTION: COVID-19           Admitted             20 N              10
APP: CHCF          09/14/2021 15:24:00   APP: CHCF         09/16/2021       APP: CHCF                      09/22/2021 11:19:00   EXCEPTION: COVID-19           Admitted             21 N              11
APP: CHCF          09/10/2021 14:50:00   APP: CHCF         09/28/2021       APP: CHCF                      09/29/2021 12:10:00   EXCEPTION: COVID-19           Admitted             28 N              18
APP: CHCF          09/10/2021 15:16:00   APP: CHCF         09/16/2021       APP: CHCF                      09/17/2021 12:45:00   EXCEPTION: COVID-19           Admitted             16 N              6
APP: CHCF          09/10/2021 16:17:00   APP: CHCF         09/14/2021       APP: CHCF                      09/15/2021 13:11:00   EXCEPTION: COVID-19           Admitted             15 N              5
APP: VPP           09/10/2021 12:22:00   APP: VPP          09/14/2021       APP: VPP                       09/15/2021 15:58:00   EXCEPTION: COVID-19           Admitted             19 N              9
APP: CHCF          09/10/2021 15:27:00   APP: CHCF         09/28/2021       APP: CHCF                      09/30/2021 13:19:00   EXCEPTION: COVID-19           Admitted             34 N              24
APP: CHCF          09/10/2021 14:30:00   APP: CHCF         09/16/2021       APP: CHCF                      09/17/2021 13:05:00   EXCEPTION: COVID-19           Admitted             21 N              11
APP: VPP           09/10/2021 11:26:00   APP: VPP          09/14/2021       APP: VPP                       09/15/2021 15:54:00   EXCEPTION: COVID-19           Admitted             20 N              10
APP: VPP           09/09/2021 15:14:00   APP: VPP          09/13/2021       APP: VPP                       09/16/2021 12:08:00   EXCEPTION: COVID-19           Admitted             21 N              11
APP: CHCF          09/09/2021 14:26:00   APP: CHCF         09/27/2021       APP: CHCF                      09/28/2021 15:28:00   EXCEPTION: COVID-19           Admitted             34 N              24
APP: VPP           09/09/2021 13:33:00   APP: VPP          09/10/2021       APP: VPP                       09/13/2021 16:09:00   EXCEPTION: COVID-19           Admitted             19 N              9
APP: CHCF          09/09/2021 13:58:00   APP: CHCF         09/27/2021       APP: CHCF                      09/28/2021 11:33:00   EXCEPTION: COVID-19           Admitted             35 N              25
APP: CHCF          09/09/2021 13:36:00   APP: CHCF         09/13/2021       APP: CHCF                      09/14/2021 10:38:00   EXCEPTION: COVID-19           Admitted             21 N              11
APP: VPP           09/09/2021 12:47:00   APP: VPP          09/09/2021       APP: VPP                       09/12/2021 11:32:00   EXCEPTION: COVID-19           Admitted             19 N              9
APP: CHCF          09/10/2021 09:15:00   APP: CHCF         09/14/2021       APP: CHCF                      09/15/2021 10:21:00   EXCEPTION: COVID-19           Admitted             22 N              12
APP: CHCF          09/09/2021 13:13:00   APP: CHCF         09/13/2021       APP: CHCF                      09/14/2021 17:54:00   EXCEPTION: COVID-19           Admitted             21 N              11
APP: CHCF          09/09/2021 15:06:00   APP: CHCF         09/14/2021       APP: CHCF                      09/15/2021 15:31:00   EXCEPTION: COVID-19           Admitted             23 N              13
APP: CHCF          09/09/2021 12:00:00   APP: CHCF         09/27/2021       APP: CHCF                      09/28/2021 11:32:00   EXCEPTION: COVID-19           Admitted             39 N              29
APP: CHCF          09/09/2021 12:18:00   APP: CHCF         09/14/2021       APP: CHCF                      09/14/2021 14:41:00   EXCEPTION: COVID-19           Admitted             25 N              15
APP: VPP           09/07/2021 20:05:00   APP: VPP          09/08/2021       APP: VPP                       09/09/2021 10:11:00   EXCEPTION: COVID-19           Admitted             21 N              11
APP: VPP           09/07/2021 14:25:00   APP: VPP          09/08/2021       APP: VPP                       09/09/2021 15:35:00   EXCEPTION: COVID-19           Admitted             22 N              12
APP: VPP           09/07/2021 15:31:00   APP: VPP          09/08/2021       APP: VPP                       09/10/2021 16:24:00   EXCEPTION: COVID-19           Admitted             23 N              13
APP: CHCF          09/07/2021 17:13:00   APP: CHCF         09/13/2021       APP: CHCF                      09/14/2021 14:45:00   EXCEPTION: COVID-19           Admitted             27 N              17
APP: VPP           09/07/2021 16:19:00   APP: VPP          09/08/2021       APP: VPP                       09/10/2021 16:26:00   EXCEPTION: COVID-19           Admitted             23 N              13
APP: CHCF          09/07/2021 15:43:00   APP: CHCF         09/16/2021       APP: CHCF                      09/16/2021 11:55:00   EXCEPTION: COVID-19           Admitted             30 N              20
APP: CMC           09/03/2021 14:25:00   APP: CMC          09/07/2021       APP: CMC                       09/08/2021 10:58:00   EXCEPTION: COVID-19           Admitted             26 N              16
APP: VPP           08/30/2021 11:35:00   APP: VPP          09/02/2021       APP: VPP                       09/03/2021 14:12:00   EXCEPTION: COVID-19           Admitted             22 N              12
APP: SQ            09/02/2021 15:17:00   APP: SQ           09/28/2021       APP: SQ                        09/30/2021 12:47:00   EXCEPTION: COVID-19           Admitted             49 N              39
APP: SQ            09/01/2021 10:58:00   APP: SQ           09/28/2021       APP: SQ                        09/29/2021 10:51:00   EXCEPTION: COVID-19           Admitted             50 N              40
APP: SQ            09/01/2021 13:34:00   APP: SQ           09/28/2021       APP: SQ                        09/29/2021 12:20:00   EXCEPTION: COVID-19           Admitted             50 N              40
APP: SQ            09/01/2021 12:44:00   APP: SQ           09/21/2021       APP: SQ                        09/22/2021 15:25:00   EXCEPTION: COVID-19           Admitted             44 N              34
APP: SQ            09/01/2021 14:25:00   APP: SQ           09/22/2021       APP: SQ                        09/24/2021 13:52:00   EXCEPTION: COVID-19           Admitted             46 N              36
                                                                        DETAIL OF APP OUT OF COMPLIANCE
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APP: SQ     09/01/2021 15:01:00   APP: SQ      09/13/2021   APP: SQ                       09/14/2021 11:16:00   EXCEPTION: COVID-19            Admitted       40 N   30
APP: SQ     09/01/2021 13:41:00   APP: SQ      09/13/2021   APP: SQ                       09/14/2021 10:45:00   EXCEPTION: COVID-19            Admitted       42 N   32
APP: SQ     08/30/2021 10:58:00   APP: SQ      08/31/2021   APP: SQ                       09/01/2021 15:07:00   EXCEPTION: COVID-19            Admitted       29 N   19
APP: SQ     09/01/2021 12:17:00   APP: SQ      09/07/2021   APP: SQ                       09/08/2021 11:24:00   EXCEPTION: COVID-19            Admitted       36 N   26
APP: VPP    08/26/2021 12:46:00   APP: VPP     08/31/2021   APP: VPP                      09/01/2021 15:58:00   EXCEPTION: COVID-19            Admitted       33 N   23
APP: CHCF   08/26/2021 16:42:00   APP: CHCF    08/30/2021   APP: CHCF                     09/02/2021 11:48:00   EXCEPTION: COVID-19            Admitted       35 N   25
APP: CHCF   08/24/2021 12:51:00   APP: CHCF    09/14/2021   APP: CHCF                     09/23/2021 13:26:00   EXCEPTION: COVID-19            Admitted       56 N   46
APP: VPP    08/25/2021 14:54:00   APP: VPP     08/31/2021   APP: VPP                      09/03/2021 11:51:00   EXCEPTION: COVID-19            Admitted       36 N   26
APP: CHCF   08/23/2021 14:44:00   APP: CHCF    09/07/2021   APP: CHCF                     09/08/2021 09:26:00   EXCEPTION: COVID-19            Admitted       43 N   33
APP: VPP    09/22/2021 11:33:00   APP: VPP     09/24/2021   APP: VPP                      09/27/2021 10:35:00   EXCEPTION: COVID-19            Admitted       17 N   7

                                                                                                                TOTAL DAYS OUT OF COMPLIANCE              0
                                                       DETAIL O F ICF OUT OF COMPLIANCE
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ICF   CMC                 MHCB          8/12/2021   8/13/2021     9/8/2021 Unlocked Dorms                   09/08/2021   ICF-Dorms: VPP               09/08/2021 11:18:00
ICF   CHCF                M HCB          8/7/2021   8/13/2021     9/9/2021 Multi Person Cell                09/10/2021   ICF-H igh : SVPP (Single)    09/10/2021 10:37:00


ICF   CM F                MHCB           8/8/2021   8/12/2021     9/8/2021 Unlocked Dorms                   09/08/2021   ICF-Dorms: VPP               09/08/2021 14:27:00
ICF   PBSP                M HCB          8/9/2021   8/12/2021     9/8/2021 Unlocked Dorms                   09/08/2021   ICF-Dorms: VPP               09/08/2021 12:08:00
ICF   CMC                 MHCB          8/12/2021   8/12/2021     9/3/2021 Single Cell                      09/03/2021   ICF-High: SVPP (Single)      09/03/2021 13:03:00
ICF   CMC                 M HCB          8/9/2021   8/10/2021     9/3/2021 Single Cell                      09/03/2021   ICF-High: SVPP (Single)      09/03/2021 14:07:00
ICF   CHCF                MHCB          7/31/2021    8/5/2021     9/7/2021 Unlocked Dorms                   09/08/2021   ICF-High: SVPP (Single)      09/08/2021 11:05:00
ICF   SVSP                MHCB           8/3/2021    8/3/2021    8/27/2021 Unlocked Dorms                   08/27/2021   ICF-High: SVPP (Single)      08/27/2021 12:32:00
ICF   CHCF                MHCB          7/23/2021   7/29/2021    8/20/2021 Unlocked Dorms                   08/20/2021   ICF-High: SVPP (Single)      08/20/2021 14:55:00
ICF   LAC                 M HCB         7/23/2021   7/23/2021     8/9/2021 Si ngle Cell                     08/10/2021   ICF-H igh : CHCF             08/10/2021 07:07:00
ICF   CMC                 MHCB          7/19/2021   7/20/2021     8/2/2021 Si ngle Cell                     08/03/2021   ICF-High: CHCF               08/03/2021 09:16:00
ICF   CM F                M HCB         7/14/2021   7/15/2021    7/23/2021 Single Cell                      07/23/2021   ICF-High : VPP (Single)      07/23/2021 12:27:00
ICF   CMF                 MHCB           7/3/2021    7/8/2021    7/20/2021 Single Cell                      07/20/2021   ICF-High: VPP (Single)       07/20/2021 15:28:00
ICF   CMF                 APP           8/27/2021   8/30/2021    9/24/2021 Unlocked Dorms                   09/24/2021   ICF-Dorms: VPP               09/24/2021 14:45:00
ICF   CMC                 EOP-GP        8/25/2021   8/27/2021    9/24/2021 Locked Dorms                     09/24/2021   ICF-Dorms: VPP               09/24/2021 13:58:00
ICF   MCSP                EOP-GP        8/12/2021   8/19/2021    9/21/2021 Single Cell                      09/21/2021   ICF-High : SVPP (Si ng le)   09/21/2021 14:48:00
ICF   SVSP                EOP-GP        8/12/2021   8/19/2021    9/21/2021 Single Cell                      09/21/2021   ICF-High: SVPP (Si ngle)     09/21/202113:20:00
ICF   MCSP                EOP-ASU       8/18/2021   8/19/2021    9/20/2021 Multi Per son Cell               09/21/2021   ICF-High : VPP (Multi)       09/21/2021 08:09:00
ICF   SVSP                EOP-GP        8/12/2021   8/18/2021    9/20/2021 Mult i Per son Cell              09/20/2021   ICF-High : SVPP (Multi)      09/20/202117:03:00
ICF   SVSP                EOP-GP        8/12/2021   8/17/2021    9/20/2021 Si ng le Cell                    09/20/2021   ICF-High : SVPP (Single)     09/20/2021 14:59:00
ICF   CHCF                APP            8/9/2021   8/12/2021     9/9/2021 Locked Dorms                     09/10/2021   ICF-High: SVPP (Single)      09/10/2021 09:53:00
ICF   MCSP                EOP-ASU       8/11/2021   8/11/2021     9/3/2021 Si ngle Cell                     09/03/2021   ICF-High : SVPP (Single)     09/03/2021 13:35:00
ICF   CHCF                APP           8/12/2021   8/11/2021     9/3/2021 Locked Dorms                     09/03/2021   ICF-Dorms: VPP               09/03/2021 15:38:00
ICF   SAC                 EOP-SHU/PSU   7/29/2021    8/9/2021    8/30/2021 Single Cell                      08/30/2021   ICF-High : SVPP (Single)     08/30/2021 15:25:00
ICF   CHCF                APP            7/6/2021    8/6/2021    8/27/2021 Unlocked Dorms                   08/27/2021   ICF-High: SVPP (Single)      08/27/2021 15:30:00
ICF   CHCF                APP            8/3/2021    8/6/2021     9/9/2021 Unlocked Dorms                   09/10/2021   ICF-High : SVPP (Si ng le)   09/10/2021 09:24:00
ICF   CHCF                APP           7/30/2021    8/6/2021    8/26/2021 Unlocked Dorms                   08/26/2021   ICF-Dorms: VPP               08/26/2021 16:46:00
ICF   CMF                 APP            8/2/2021    8/5/2021    8/27/2021 Single Cell                      08/27/2021   ICF-High : SVPP (Si ng le)   08/27/202115:30:00
ICF   CHCF                APP           7/29/2021    8/5/2021     9/7/2021 Unlocked Dorms                   09/07/2021   ICF-Dorms: ASH               09/07/202111:46:00
ICF   CHCF                APP            8/3/2021    8/5/2021    8/20/2021 Unlocked Dorms                   08/20/2021   ICF-Dorms: ASH               08/20/202112:13:00
ICF   CHCF                APP            8/3/2021    8/4/2021    8/18/2021 Multi Person Cell                08/18/2021   ICF-High: VPP (Mult i)       08/18/2021 11:25:00
ICF   CM F                APP            8/3/2021    8/4/2021    8/30/2021 U nlocked Dorms                  08/30/2021   ICF-High : VPP (Mult i)      08/30/2021 13:29:00
ICF   CHCF                APP           7/30/2021    8/3/2021    8/26/2021 Unlocked Dorms                   08/26/2021   ICF-Dorms: VPP               08/26/2021 14:06:00
ICF   CM F                APP           7/30/2021    8/2/2021    8/30/2021 U nlocked Dorms                  08/30/2021   ICF-Dorms: ASH               08/30/2021 10:14:00
ICF   CHCF                APP           7/29/2021    8/2/2021    8/17/2021 Mult i Per son Cell              08/17/2021   ICF-High: VPP (Mult i)       08/17/2021 15:46:00
ICF   CHCF                APP            7/8/2021   7/29/2021    8/25/2021 U nlocked Dorms                  08/25/2021   ICF-High : SVPP (Single)     08/25/2021 15:35:00
ICF   MCSP                EOP-ASU       7/28/2021   7/29/2021    8/18/2021 Single Cell                      08/18/2021   ICF-High: CHCF               08/18/2021 11:46:00
ICF   CHCF                APP           7/16/2021   7/28/2021     9/7/2021 U nlocked Dorms                  07/28/2021   ICF-High : VPP (Multi)       07/28/2021 13:34:00
ICF   CHCF                APP           7/19/2021   7/28/2021    9/13/2021 Unlocked Dorms                   08/17/2021   ICF-High: CHCF               08/17/2021 12:53:00
ICF   CHCF                APP           7/23/2021   7/28/2021    8/17/2021 Si ng le Cell                    08/17/2021   ICF-H igh : CHCF             08/17/2021 11:21:00
ICF   CM F                APP           7/22/2021   7/27/2021    8/12/2021 Unlocked Dorms                   08/12/2021   ICF-High: VPP (Mult i)       08/12/2021 14:13:00
ICF   CHCF                APP           7/15/2021   7/26/2021    8/12/2021 Si ngle Cell                     08/12/2021   ICF-High : SVPP (Single)     08/12/2021 13:04:00
ICF   CHCF                APP            7/7/2021   7/23/2021     8/9/2021 Single Cell                      08/09/2021   ICF-High: CHCF               08/09/2021 14:42:00
ICF   CHCF                APP           7/22/2021   7/23/2021    9/20/2021 U n locked Dorms                 09/20/2021   ICF-H igh : CHCF             09/20/2021 16:57:00
ICF   CMF                 EOP-GP         7/8/2021   7/22/2021     8/5/2021 Mult i Per son Cell              08/05/2021   ICF-High: VPP (Mult i)       08/05/2021 13:26:00
ICF   LAC                 EOP-ASU       7/20/2021   7/21/2021     8/2/2021 Si ng le Cell                    08/03/2021   ICF-H igh : CHCF             08/03/2021 06:59:00
                                               DETAIL OF ICF OUT OF COMPLIANCE
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ICF   CHCF        APP            7/9/2021   7/13/2021   7/22/2021 Single Cell                     07/22/2021   ICF-High: CHCF           07/22/2021 11:41:00
ICF   CHCF        APP           6/30/2021    7/6/2021   7/12/2021 Locked Dorms                    07/16/2021   ICF-High: VPP (Multi)    07/16/2021 12:47:00
ICF   CHCF        APP           6/30/2021    7/6/2021   7/14/2021 Single Cell                     07/15/2021   ICF-High: CHCF           07/15/2021 10:22:00
ICF   SAC         EOP-SHU/PSU   6/24/2021    7/1/2021   7/16/2021 Single Cell                     07/16/2021   ICF-High: VPP (Single)   07/16/2021 14:06:00
                                                                                                       DETAIL OF ICF OUT OF COMPLIANCE
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                                                                                                                                                                                           Day from        Within     Days over
        HCPPOP                  HCPOP                   Accepting         Date Placed
                                                                                                                           Inpatient Program               Comments for        Referral   Referral to     Program      Program
      Endorsement            Endorsement                Inpatient         on Accepted        Inpatient Program Admitted
                                                                                                                            Admit Date/Time              DELAY/EXCEPTION        Status    MH IRU and       Guide        Guide
        Location              Date/Time                 Program           Referrals List
                                                                                                                                                                                          Admission     Timeframes   Timeframes
ICF-Dorms: VPP            09/08/2021 11:18:00   ICF-Dorms: VPP            09/21/2021       ICF-Dorms: VPP                 09/22/2021 12:44:00   EXCEPTION: COVID-19           Admitted             40 N              10
ICF-High: SVPP (Single)   09/10/2021 10:37:00   ICF-High: SVPP (Single)   09/17/2021       ICF-High: SVPP (Single)        09/20/2021 13:45:00   EXCEPTION: COVID-19           Admitted             38 N              8

                                                ICF-Dorms: VPP            09/14/2021       ICF-Dorms: VPP                 09/15/2021 11:48:00   EXCEPTION: COVID-19
ICF-Dorms: VPP            09/08/2021 14:27:00   APP: VPP                  10/02/2021       APP: VPP                       10/02/2021 20:47:00                                 Admitted             34 N              4
ICF-Dorms: VPP            09/08/2021 12:08:00   ICF-Dorms: VPP            09/09/2021       ICF-Dorms: VPP                 09/12/2021 11:32:00   EXCEPTION: COVID-19           Admitted             31 N              1
ICF-High: SVPP (Single)   09/03/2021 13:03:00   ICF-High: SVPP (Single)   09/10/2021       ICF-High: SVPP (Single)        09/14/2021 15:12:00   EXCEPTION: COVID-19           Admitted             33 N              3
ICF-High: SVPP (Single)   09/03/2021 14:07:00   ICF-High: SVPP (Single)   09/10/2021       ICF-High: SVPP (Single)        09/14/2021 15:06:00   EXCEPTION: COVID-19           Admitted             35 N              5
ICF-High: SVPP (Single)   09/08/2021 11:05:00   ICF-High: SVPP (Single)   09/10/2021       ICF-High: SVPP (Single)        09/13/2021 13:26:00   EXCEPTION: COVID-19           Admitted             39 N              9
ICF-High: SVPP (Single)   08/27/2021 12:32:00   ICF-High: SVPP (Multi)    09/01/2021       ICF-High: SVPP (Multi)         09/03/2021 09:42:00   EXCEPTION: COVID-19           Admitted             31 N              1
ICF-High: SVPP (Single)   08/20/2021 14:55:00   ICF-High: SVPP (Single)   09/02/2021       ICF-High: SVPP (Single)        09/03/2021 13:57:00   EXCEPTION: COVID-19           Admitted             36 N              6
ICF-High: CHCF            08/10/2021 07:07:00   ICF-High: CHCF            09/03/2021       ICF-High: CHCF                 09/08/2021 14:19:00   EXCEPTION: COVID-19           Admitted             47 N              17
ICF-High: CHCF            08/03/2021 09:16:00   ICF-High: CHCF            09/02/2021       ICF-High: CHCF                 09/15/2021 11:50:00   EXCEPTION: COVID-19           Admitted             57 N              27
ICF-High: VPP (Single)    07/23/2021 12:27:00   ICF-High: VPP (Single)    09/16/2021       ICF-High: VPP (Single)         09/17/2021 15:31:00   EXCEPTION: COVID-19           Admitted             64 N              34
ICF-High: VPP (Single)    07/20/2021 15:28:00   ICF-High: VPP (Single)    09/14/2021       ICF-High: VPP (Single)         09/15/2021 11:13:00   EXCEPTION: COVID-19           Admitted             69 N              39
ICF-Dorms: VPP            09/24/2021 14:45:00   ICF-Dorms: VPP            09/29/2021       ICF-Dorms: VPP                 09/30/2021 09:55:00   EXCEPTION: COVID-19           Admitted             31 N              1
ICF-Dorms: VPP            09/24/2021 13:58:00   ICF-Dorms: VPP            09/29/2021       ICF-Dorms: VPP                 09/30/2021 14:39:00   EXCEPTION: COVID-19           Admitted             34 N              4
ICF-High: SVPP (Single)   09/21/2021 14:48:00   ICF-High: SVPP (Single)   09/28/2021       ICF-High: SVPP (Single)        09/30/2021 12:21:00   EXCEPTION: COVID-19           Admitted             42 N              12
ICF-High: SVPP (Single)   09/21/2021 13:20:00   ICF-High: SVPP (Single)   09/28/2021       ICF-High: SVPP (Single)        09/29/2021 12:54:00   EXCEPTION: COVID-19           Admitted             41 N              11
ICF-High: VPP (Multi)     09/21/2021 08:09:00   ICF-High: VPP (Multi)     09/29/2021       ICF-High: VPP (Multi)          09/29/2021 15:35:00   EXCEPTION: COVID-19           Admitted             41 N              11
ICF-High: SVPP (Multi)    09/20/2021 17:03:00   ICF-High: SVPP (Multi)    09/28/2021       ICF-High: SVPP (Multi)         09/28/2021 11:54:00   EXCEPTION: COVID-19           Admitted             41 N              11
ICF-High: SVPP (Single)   09/20/2021 14:59:00   ICF-High: SVPP (Single)   09/28/2021       ICF-High: SVPP (Single)        09/29/2021 12:54:00   EXCEPTION: COVID-19           Admitted             43 N              13
ICF-High: SVPP (Single)   09/10/2021 09:53:00   ICF-High: SVPP (Single)   09/17/2021       ICF-High: SVPP (Single)        09/20/2021 13:16:00   EXCEPTION: COVID-19           Admitted             39 N              9
ICF-High: SVPP (Single)   09/03/2021 13:35:00   ICF-High: SVPP (Single)   09/10/2021       ICF-High: SVPP (Single)        09/13/2021 16:00:00   EXCEPTION: COVID-19           Admitted             33 N              3
ICF-Dorms: VPP            09/03/2021 15:38:00   ICF-Dorms: VPP            09/20/2021       ICF-Dorms: VPP                 09/21/2021 10:05:00   EXCEPTION: COVID-19           Admitted             41 N              11
ICF-High: SVPP (Single)   08/30/2021 15:25:00   ICF-High: SVPP (Single)   09/08/2021       ICF-High: SVPP (Single)        09/09/2021 14:34:00   EXCEPTION: COVID-19           Admitted             31 N              1
ICF-High: SVPP (Single)   08/27/2021 15:30:00   ICF-High: SVPP (Single)   08/31/2021       ICF-High: SVPP (Single)        09/15/2021 12:28:00   EXCEPTION: COVID-19           Admitted             40 N              10
ICF-High: SVPP (Single)   09/10/2021 09:24:00   ICF-High: SVPP (Single)   09/17/2021       ICF-High: SVPP (Single)        09/20/2021 13:17:00   EXCEPTION: COVID-19           Admitted             45 N              15
ICF-Dorms: VPP            08/26/2021 16:46:00   ICF-Dorms: VPP            09/16/2021       ICF-Dorms: VPP                 09/17/2021 11:35:00   EXCEPTION: COVID-19           Admitted             42 N              12
ICF-High: SVPP (Single)   08/27/2021 15:30:00   ICF-High: SVPP (Single)   09/07/2021       ICF-High: SVPP (Single)        09/09/2021 14:18:00   EXCEPTION: COVID-19           Admitted             35 N              5
ICF-Dorms: ASH            09/07/2021 11:46:00   ICF-Dorms: ASH            09/09/2021       ICF-Dorms: ASH                 09/10/2021 16:30:00   EXCEPTION: COVID-19           Admitted             36 N              6
ICF-Dorms: ASH            08/20/2021 12:13:00   ICF-Dorms: ASH            08/20/2021       ICF-Dorms: ASH                 09/16/2021 13:15:00   EXCEPTION: COVID-19           Admitted             42 N              12
ICF-High: VPP (Multi)     08/18/2021 11:25:00   ICF-High: VPP (Multi)     09/07/2021       ICF-High: VPP (Multi)          09/08/2021 10:34:00   EXCEPTION: COVID-19           Admitted             35 N              5
ICF-High: VPP (Multi)     08/30/2021 13:29:00   ICF-High: VPP (Multi)     09/09/2021       ICF-High: VPP (Multi)          09/10/2021 16:00:00   EXCEPTION: COVID-19           Admitted             37 N              7
ICF-Dorms: VPP            08/26/2021 14:06:00   ICF-Dorms: VPP            08/31/2021       ICF-Dorms: VPP                 09/13/2021 16:10:00   EXCEPTION: COVID-19           Admitted             41 N              11
ICF-Dorms: ASH            08/30/2021 10:14:00   ICF-Dorms: ASH            08/30/2021       ICF-Dorms: ASH                 09/02/2021 16:41:00   EXCEPTION: COVID-19           Admitted             31 N              1
ICF-High: VPP (Multi)     08/17/2021 15:46:00   ICF-High: VPP (Multi)     09/17/2021       ICF-High: VPP (Multi)          09/20/2021 12:50:00   EXCEPTION: COVID-19           Admitted             49 N              19
ICF-High: SVPP (Single)   08/25/2021 15:35:00   ICF-High: SVPP (Single)   08/27/2021       ICF-High: SVPP (Single)        09/20/2021 13:16:00   EXCEPTION: COVID-19           Admitted             53 N              23
ICF-High: CHCF            08/18/2021 11:46:00   ICF-High: CHCF            09/03/2021       ICF-High: CHCF                 09/07/2021 13:04:00   EXCEPTION: COVID-19           Admitted             40 N              10
ICF-High: VPP (Multi)     07/28/2021 13:34:00   ICF-High: VPP (Multi)     08/31/2021       ICF-Dorms: ASH                 09/10/2021 16:30:00   EXCEPTION: COVID-19           Admitted             44 N              14
ICF-High: CHCF            08/17/2021 12:53:00   ICF-Dorms: CSH            09/13/2021       ICF-Dorms: ASH                 09/23/2021 14:46:00   EXCEPTION: COVID-19           Admitted             57 N              27
ICF-High: CHCF            08/17/2021 11:21:00   ICF-High: CHCF            09/29/2021       ICF-High: CHCF                 09/30/2021 19:51:00   EXCEPTION: COVID-19           Admitted             64 N              34
ICF-High: VPP (Multi)     08/12/2021 14:13:00   ICF-High: VPP (Multi)     09/02/2021       ICF-High: VPP (Multi)          09/03/2021 11:10:00   EXCEPTION: COVID-19           Admitted             38 N              8
ICF-High: SVPP (Single)   08/12/2021 13:04:00   ICF-High: SVPP (Single)   08/20/2021       ICF-High: SVPP (Single)        09/21/2021 12:30:00   EXCEPTION: COVID-19           Admitted             57 N              27
ICF-High: CHCF            08/09/2021 14:42:00   ICF-High: CHCF            09/13/2021       ICF-High: CHCF                 09/13/2021 10:06:00   EXCEPTION: COVID-19           Admitted             52 N              22
ICF-High: CHCF            09/20/2021 16:57:00   ICF-High: CHCF            09/24/2021       ICF-High: CHCF                 09/24/2021 16:25:00   EXCEPTION: COVID-19           Admitted             63 N              33
ICF-High: VPP (Multi)     08/05/2021 13:26:00   ICF-High: VPP (Multi)     09/02/2021       ICF-High: VPP (Multi)          09/14/2021 11:36:00   EXCEPTION: COVID-19           Admitted             54 N              24
ICF-High: CHCF            08/03/2021 06:59:00   ICF-High: CHCF            09/02/2021       ICF-High: CHCF                 09/08/2021 14:22:00   EXCEPTION: COVID-19           Admitted             49 N              19
                                                                                                  DETAIL OF ICF OUT OF COMPLIANCE
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ICF-High: CHCF           07/22/2021 11:41:00   ICF-High: CHCF            09/27/2021   ICF-High: CHCF                 09/27/2021 13:26:00   EXCEPTION: COVID-19            Admitted       76 N   46
ICF-High: VPP (Multi)    07/16/2021 12:47:00   ICF-High: VPP (Multi)     09/08/2021   ICF-High: VPP (Multi)          09/10/2021 09:49:00   EXCEPTION: COVID-19            Admitted       66 N   36
ICF-High: CHCF           07/15/2021 10:22:00   ICF-High: CHCF            09/27/2021   ICF-High: CHCF                 09/27/2021 14:47:00   EXCEPTION: COVID-19            Admitted       83 N   53
ICF-High: VPP (Single)   07/16/2021 14:06:00   ICF-High: SVPP (Single)   09/01/2021   ICF-High: SVPP (Single)        09/02/2021 12:00:00   EXCEPTION: COVID-19            Admitted       63 N   33

                                                                                                                                           TOTAL DAYS OUT OF COMPLIANCE              0
